                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                             No. CR16-2057-LTS
 vs.                                                           ORDER
 DANIEL LOUIS JACKSON,
                 Defendant.
                                 ____________________

         This matter is before me on a Report and Recommendation (R&R) in which the
Honorable C.J. Williams, Chief United States Magistrate Judge, recommends that I deny
defendant’s motion (Doc. No. 34) to consolidate Counts 1 and 2. See Doc. No. 38.


                                  I.    BACKGROUND
         On December 14, 2016, the grand jury returned an indictment (Doc. No. 3) against
defendant Daniel Louis Jackson (Jackson) charging him with one count of bank robbery
in violation of 18 U.S.C. § 2113(a) (Count 1), one count of armed bank robbery in
violation of 18 U.S.C. §§ 2113(a) and (d) (Count 2) and one count of using a firearm
during a violent crime in violation of 18 U.S.C. § 924(c)(1) (Count 3).
         Jackson filed a motion to consolidate Counts 1 and 2, arguing they are
multiplicitous because they are based on the same acts that occurred at the same time.
The only exception is that Count 2 requires an assault or placing a person’s life in
jeopardy by use of a dangerous weapon. The Government filed a resistance (Doc. No.
35) in which it concedes that Counts 1 and 2 are multiplicitous but argues that the
appropriate remedy is to merge the counts at sentencing if Jackson is convicted of both
counts.    Id.   Judge Williams recommends that Jackson’s motion (Doc. No. 34) to



       Case 6:16-cr-02057-LTS-MAR      Document 46      Filed 04/17/17    Page 1 of 4
consolidate be denied. Neither party has objected to the R&R. The deadline for such
objections has expired.


                            II.    STANDARD OF REVIEW
       A district judge must review a magistrate judge’s R&R under the following
standards:
       Within fourteen days after being served with a copy, any party may serve
       and file written objections to such proposed findings and recommendations
       as provided by rules of court. A judge of the court shall make a de novo
       determination of those portions of the report or specified proposed findings
       or recommendations to which objection is made. A judge of the court may
       accept, reject, or modify, in whole or in part, the findings or
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.
28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude

                                             2


    Case 6:16-cr-02057-LTS-MAR         Document 46       Filed 04/17/17    Page 2 of 4
      further review by the district judge, sua sponte or at the request of a party,
      under a de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                  III.    DISCUSSION
      Because neither party objected to the R&R, I have reviewed it for clear error. As
Judge Williams noted in his R&R, “[t]he rule against multiplicitous prosecutions is based
on the Fifth Amendment’s Double Jeopardy Clause, which ‘protects against multiple
punishments for the same offense.’” United States v. Woolsey, 759 F.3d 905, 907 (8th
Cir. 2014) (quoting United States v. Emly, 747 F.3d 974, 977 (8th Cir. 2014)). “An
indictment is multiplicitous if it charges the same crime in separate counts.” United
States v. Platter, 514 F.3d 782, 785 (8th Cir. 2008) (citing United States v. Chipps, 410
F.3d 438, 447 (8th Cir. 2005)). “The primary problem is that the jury can convict on
both counts, resulting in two punishments for the same crime in violation of the Double
Jeopardy Clause of the Fifth Amendment.” Id. (citing United States v. Ansaldi, 372 F.3d
118, 124 (2d Cir.), cert. denied, 543 U.S. 949 and cert. denied, 543 U.S. 960).
      Judge Williams agreed with the parties that Counts 1 and 2 are multiplicitous.
Indeed, he noted it is well-established that a violation of section 2113(a) (bank robbery)
is a lesser-included offense of section 2113(d) (armed bank robbery). See Doc. No. 38
at 3 (citing, among others, United States v. Gary, No. 02-4996, 2004 WL 98641, at *1-
2 (4th Cir. Jan. 22, 2004)). Rather than recommending that I consolidate the counts or
merge them at the time of sentencing, if necessary, Judge Williams suggested that the
appropriate remedy is to “instruct the jury that Count 1 is a lesser-included offense of
Count 2, and structure the jury’s decision-making appropriately in the verdict form.”
Doc. No. 38 at 3. Judge Williams cited several Eighth Circuit cases supporting the use
of jury instructions, rather than consolidation, to address multiplicitous counts. See id.
at 4. As for the Government’s request to merge Counts 1 and 2 at sentencing if Jackson

                                             3


    Case 6:16-cr-02057-LTS-MAR           Document 46    Filed 04/17/17    Page 3 of 4
is found guilty of both counts, Judge Williams noted that the Eighth Circuit has found
this remedy to be appropriate only when the multiplicitous counts were not remedied at
the time of trial. Id. at 5 (citing, among others, Platter, 514 F.3d at 787). Here, Judge
Williams reasoned that because the multiplicitous nature of the counts has been identified
in advance of trial, and because one count charges a lesser-included offense of another,
“the appropriate remedy is to address that issue through jury instructions and a proper
verdict form.” Id.
       I find no error, clear or otherwise with regard to Judge Williams’ well-reasoned
R&R and agree that this situation is best resolved through the use of carefully-crafted
jury instructions and verdict form. As such, I adopt the R&R in its entirety.


                                  IV.    CONCLUSION
       For the reasons set forth herein, I hereby accept Judge Williams’ Report and
Recommendation (Doc. No. 38) without modification. Defendant’s motion (Doc. No.
34) to consolidate is denied. In the event this case proceeds to trial, the jury instructions
and verdict form will address the fact that Count 1 is a lesser-included offense of Count
2.


       IT IS SO ORDERED.
       DATED this 17th day of April, 2017.




                                          ________________________________
                                          LEONARD T. STRAND
                                          CHIEF UNITED STATES DISTRICT JUDGE




                                             4


     Case 6:16-cr-02057-LTS-MAR         Document 46      Filed 04/17/17     Page 4 of 4
